                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )       DOCKET NO. 3:03CR216-W
               v.                                      )
                                                       )
(1) KENNETH STRONG                                     )       ORDER
(2) WILLIAM PHILLIPS                                   )


       THIS MATTER is before the Court on the Government’s motion for an extension of time

beyond the date of sentencing to establish rightful restitution claims pursuant to the provisions of

Title 18, United States Code, Section 3664(d)(5).

       FOR GOOD CAUSE SHOWN, this motion is hereby GRANTED. The Court finds that

an extension of time is necessary to provide a full opportunity to establish a fair and accurate

basis for restitution awards in this matter. The parties are expected to report back to the Court

within ninety days of the date of the sentencing with a jointly recommended inventory of specific

restitution awards payable to specific victims and, if necessary, a list of potential restitution

awards disputed by the parties.

       The Clerk is directed to certify copies of this order to defendants, to counsel for

defendants, to the United States Attorney, the United States Marshals Office, and to the U.S.

Probation Office.
                                                   Signed: May 2, 2007




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